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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WISCONSIN

SANDRA E. BUDEWITZ,
       Plaintiff-Appellant
-vs-                                                               Case No: 19CV593
DAUBERT LAW FIRM, S.C.,
And
MICHAEL STUELAND,

       Defendants-Appellees.


                 NOTICE OF APPEAL TO A COURT OF APPEALS
              FROM A JUDGMENT AND ORDER OF A DISTRICT COURT


       NOTICE IS HEREBY GIVEN that Sandra Budewitz, plaintiff in the above-named case

hereby appeals to the United States Court of Appeals for the Seventh Circuit from the final order

and judgment entered in this action on the 28th day of September, 2020.

Dated: This 26th day of October, 2020.              Lawton & Cates, S.C.
                                                    Attorney for Plaintiff-Appellant


                                                    /s/ Briane F. Pagel___________________
                                                    Attorney Briane F. Pagel
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